Case 1:14-cv-02887-JLK-MEH Document 117 Filed 02/13/18 USDC Colorado Page 1 of 1



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-cv-02887-JLK

  ALEJANDRO MENOCAL,
  MARCOS BRAMBILA,
  GRISEL XAHUENTITLA,
  HUGO HERNANDEZ,
  LOURDES ARGUETA,
  JESUS GAYTAN,
  OLGA ALEXAKLINA,
  DAGOBERTO VIZGUERRA,
  DEMETRIO VALEGRA,

         Plaintiff,

  v.

  CALIFORNIA CASUALTY MANAGEMENT COMPANY,

         Defendant.


                                          MINUTE ORDER

  Entered by Michael E. Hegarty, United States Magistrate Judge, on February 13, 2018.

          Pursuant to the Order of Reference issued by the Honorable John L. Kane, ECF No. 116, on
  or before February 16, 2018, counsel for the parties shall first teleconference together, then call my
  chambers at (303) 844-4507 to schedule a Settlement Conference in this case.
